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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                     Case No. 15-20317
                                                       HON. AVERN COHN
DAMON BURNETT (D-1), et al.,

     Defendants.
___________________________________/

                                     MEMORANDUM

       This is a criminal case. On October 2, 2015, the Court entered an order styled

Order Setting Conditions of Release (Doc. 266), releasing defendant, Damon Burnett

(Burnett), from pretrial detention. The government has appealed. (Doc. 274). The

Pretrial Services Report of May 18, 2015 is not part of the record. Attached is the

Pretrial Services Report, filed under seal.



                                                S/Avern Cohn
                                                AVERN COHN
                                                UNITED STATES DISTRICT JUDGE
Dated: October 22, 2015
      Detroit, Michigan
